Case 3:18-md-02843-VC Document 33-2 Filed 06/21/18 Page 1 of 2
        Case 3:18-md-02843-VC Document 33-2 Filed 06/21/18 Page 2 of 2




         In re: Facebook, Inc., Consumer Privacy User Profile Litig., MDL No. 2843
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